                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                  No. CR 06-2013
 vs.                                               ORDER REGARDING
                                              MAGISTRATE’S REPORT AND
 BRETT MORAVEC,                                    RECOMMENDATION
                                               CONCERNING DEFENDANT’S
                Defendant.                            GUILTY PLEA
                                 ____________________


                       I. INTRODUCTION AND BACKGROUND
        On February 14, 2006, a one-count Indictment was returned against the defendant
Brett Moravec.      On April 21, 2006, the defendant appeared before United States
Magistrate Judge Paul A. Zoss and entered a plea of guilty to Count 1 of the Indictment.
On April 21, 2006, Judge Zoss filed a Report and Recommendation in which he
recommended that defendant’s guilty plea be accepted. No objections to Judge Zoss'
Report and Recommendation were filed. The court, therefore, undertakes the necessary
review of Judge Zoss' recommendation to accept defendant’s plea in this case.


                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the
               findings or recommendations made by the magistrate [judge].


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28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss' Report and Recommendation of April 21, 2006,
and accepts defendant’s plea of guilty in this case to Count 1 of the Indictment.
      IT IS SO ORDERED.
      DATED this 31st day of May, 2006.




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